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TIG Bancorp

73 South Tamarron Drive
Suite 865
Durango, CO 81301

 

March 27, 2018

Clerk of the Banl<ruptcy Court

United States Bankruptcy Court: District of Colorado
721 19th st

Denver, Colorado 80202

Via FedEx with a copy sent by email to the Independent Sale Examiner:

Thomas M. Kim
r2 advisors, llc
1350 17th st #206
Denver, CO 80202

tkim@r2llc.com
Re: Case No. 17~20315 EEB / TlG Bancorp Non~Qualified Bid Proposal

Dear Judge Brown:

As reflected in the Court’s records, TIG Bancorp previously submitted a letter of intent to
Colorado National Bancorp, the sole owner of Colorado National Banl<, dated January
19, 2018. By this letter (“Letter”), we acknowledge our receipt and review of the Order
in Case No. 17-20315 EEB dated February 23, 2018, including the Bidding Procedures
included therewith

We expressly acknowledge that this Letter is not being submitted as a Qualified Bid, as
defined in the Order, but instead is proffered to the Court as a contingent offer to be
considered in the event the winning bidder cannot obtain regulatory approval or is
otherwise unable to close the transaction We understand the Court has retained
exclusive jurisdiction with respect to these matters and we have only submitted this
Letter to the Court, to hold in its records. As this is not a Qualified Bid, we have not
delivered a copy of this Letter to the other parties listed in paragraphs 5 of the Order and
lO(q) of the Bidding Procedures. Capitalized terms not defined herein shall have the
meanings given to them in the Order and Bidding Procedures.

The following proposal is substantially the same as our letter dated January 19, 2018.
We invite the Court to contact us in the event the winning bidder is unable to close the
transaction In that event, we can submit additional documentation to the Court to show
our commitment and suitability to expeditiously obtain regulatory approval, close the
transaction, and operate the Colorado National Bank.

 

 

 

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Letter of lntent

This Letter constitutes an indication of interest by TIG Bancorp (“TIG”) in acquiring
either (a) 100% of the outstanding common stock of Colorado National Bancorp (the
“Company”), including its wholly owned subsidiary Colorado National Bank (the
“Bank”) or, in the alternative, (b) the Palisade Branch Assets, as defined below. For
purposes of this Letter, “Transaction” shall mean either the transaction structure
described in (a) above and Section 1 below (“Proposal 1”) or the transaction structure
described in (b) above and Section 2 below (“Proposal 2”), as applicable

Subj ect to the completion of due diligence and our evaluation of the information to be
obtained therein, we propose the following:

l. Purchase Price and Transaction Structure (Proposal l). The purchase price would
be paid in cash upon the closing of the Transaction in an amount equal to 91% of
the Bank’s Closing Tangible Common Equity (as defined in the Stalking Horse
SPA), in exchange for 100% of the outstanding common stock of the Company,
including the Bank. Following the acquisition of the Company and assuming
regulatory approval, TlG would merge the Bank with and into its wholly owned
subsidiary, First State Bank of Colorado. As a condition of the purchase, TIG
would seek assurance from its regulators regarding their intent to approve TIG’s
proposed treatment of issues identified in that certain Formal Agreement by and
between the Bank and the Office of the Comptroller of the Currency dated May 31,
2016, such that there would be no negative regulatory impact on First State Bank of
Colorado as a result of the Transaction.

2. Alternative Transaction Structure (Proposal 2). ln the event that Proposal l is not
acceptable to the Company, TIG would have interest in negotiating the purchase of
the Bank’s Palisade location, including all assets of the Bank associated with that
branch (the “Palisade Branch Assets”).

3. Operations. TlG’s management team has vast experience operating troubled
banking institutions and is uniquely qualified to address related issues. TlG’s
management has proven its ability to rehabilitate such institutions and is confident
that it can transition the Bank in a safe and sound manner. ln addition, TIG recently
acquired First State Bank of Colorado in connection with a bankruptcy proceeding
TIG experienced no issues or delays in obtaining regulatory approval for that
acquisition and accomplished a smooth transition of ownership. Following
consummation of the Transaction, TIG would use its best efforts to promote
efficiency in the transition and continuity of services for customers and banking
operations TIG is committed to the communities that the Bank currently serves
and through its focused approach will improve and enhance product and service
offerings to customers

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Management and Emplovees. TIG anticipates that it will be interested in retaining
the services of certain staff members currently employed by the Bank, however it
will make its final determinations following completion of its due diligence and
management interview processes ln the event any full time employee is not
retained and is not already covered by an existing severance package, TIG
anticipates it would provide some form of severance benefit to such displaced
employee

 

Due Diligence lssues. Due diligence would include a full review of credit files,
corporate records, investment portfolio, and other documents and information to be
identified in a Due Diligence Request furnished by TIG upon being informed that it
has been selected to undertake due diligence and commence negotiation of a
Definitive Agreement TIG anticipates that due diligence will be conducted for a
period of no longer than forty-five (45) days.

Approvals. The Transaction will be conditioned upon, among other things, the
receipt of all requisite regulatory approvals and the consent of TIG’s shareholders,
the Company’s shareholders, the Bankruptcy Court, and any other party required to
give consent to consummate the Transaction. Any definitive agreement for the
Transaction (“Definitive Agreement”) will provide that following execution thereof,
TIG will proceed to prepare and file the regulatory applications required for
Transaction approval. The filing of any such applications will be made no later
than thirty (3 0) days after the execution of the Definitive Agreement or as soon
thereafter as is practicable TIG anticipates that it will be able to obtain all
regulatory approvals promptly.

Process. TIG is interested in proceeding with the next steps toward a potential
Transaction. Anticipated next steps would include the completion of satisfactory
due diligence, negotiation and execution of a mutually-agreeable Definitive
Agreement, and obtaining all required approvals.

Expenses. Each party shall bear its own costs and expenses (including all legal,
accounting, bank, investment banking, and other costs) with respect to the
investigation, negotiation, and consummation of the proposed Transaction.

Confidentiality. The non-disclosure agreements executed on December 14, 2017
will continue in full force and effect in accordance with its terms notwithstanding
anything to the contrary in this Letter.

Public Disclosure. Neither TIG nor the Company will make any public
announcement concerning the subject of this Letter without the prior approval of
such announcement by the other party; provided, however, that such prior approval
will not be required if, in the opinion of counsel for TIG or the Company, as the
case may be, disclosure of information relating to the proposed Transaction is
required by law or regulation

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ll. Miscellaneous. This Letter may be amended or modified only in writing signed by
all the parties hereto. This Letter shall be construed and governed by the laws of
the State of Colorado.

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Please note that this Letter constitutes an expression of interest intended to form the basis
for further discussion only but is not legally binding. This Letter does not contain all
matters upon which agreement must be reached in order for the proposed Transaction to
be consummated TIG and the Company shall be legally obligated only when and if they
hereafter successfully negotiate and execute a Definitive Agreement providing for the
proposed Transaction.

Under our ownership, the Bank will continue to operate as a community bank. If you
have any questions concerning the above, please feel free to contact us

We appreciate your consideration m this matter and are excited about the opportunity to
pursue this Transaction

Sincerely,

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“Gary L./Webb, Chaiiman

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